      Case 3:20-cv-05233-LC-EMT Document 22 Filed 03/23/21 Page 1 of 2



                                                                         Page 1 of 2


                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

RANDY A. HART,
    Plaintiff,

vs.                                             Case No.: 3:20cv5233/LAC/EMT

FLORIDA DEPARTMENT OF
CORRECTIONS,
    Defendant.
                                  /

                                      ORDER

      The chief magistrate judge issued a Report and Recommendation on March

9, 2021 (ECF No. 20). Efforts were made to furnish Plaintiff a copy of the Report

and Recommendation and afford him an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1).        All mail was returned as

undeliverable noting that the Plaintiff had been released from prison and left no

forwarding address. No objections have been filed.

      Having considered the Report and Recommendation, I have determined it

should be adopted.

      Accordingly, it is ORDERED:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No.

20) is adopted and incorporated by reference in this order.
       Case 3:20-cv-05233-LC-EMT Document 22 Filed 03/23/21 Page 2 of 2



                                                                             Page 2 of 2


       2.     This case is DISMISSED without prejudice for Plaintiff’s failure to

comply with an order of the court.

       3.     The clerk of court is directed to enter judgment in accordance with this

order and close the case.

       DONE AND ORDERED this 23rd day of March, 2021.




                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




Case No.: 3:20cv5233/LAC/EMT
